Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 1 of 6 PageID 12
                                                                            DONNA MUINDI U AHMI      USOOD8198845

 (12 ) Shotwell
       United States Design Patent ( 10) Patent No.:                                                                 US D819 ,884 S
                                                                                   (45) Date of Patent: * *                   Jun. 5 , 2018
 (54 ) GLASS WITH INTEGRATED RESTS FOR                                                           OTHER PUBLICATIONS
         TOBACCO PRODUCTS
                                                                                International search report from PCT/US2017 /061940 .
 (71 ) Applicant: SAJ Group , LLC , Chicago , IL (US )                          Primary Examiner — Susan Bennett Hattan
(72) Inventor: James A . Shotwell, Chicago, IL (US)                             Assistant Examiner — Rebecca Tsehaye
                                                                                ( 74 ) Attorney, Agent, or Firm — Crawford Intellectual
( 73 ) Assignee: SAJGROUP, LLC , Chicago, IL (US)                               Proper ; Brie A . Crawford
(* * ) Term : 15 Years                                                          (57)                     CLAIM
 (21) Appl. No.: 29 /585 , 256                                                   The ornamental design for a glass with integrated rests for
                                                                                tobacco products , as shown and described .
 (22) Filed : Nov . 22 , 2016                                                                         DESCRIPTION
               Related U .S . Application Data                                  FIG . 1 depicts a top perspective view of the glass with
 (63 ) Continuation - in -part of application No. 15 /355,718,                  integrated rests for tobacco products showing my new
       filed on Nov . 18 , 2016 .                                               design ;
 (51) LOC (11) Cl. ....                               .......... 27-03
                                                                                FIG . 2 depicts a front plan view of the glass with integrated
                                                                                rests for tobacco products shown in FIG . 1 ;
 (52 ) U . S . CI.                                                              FIG . 3 depicts a rear plan view of the glass with integrated
       USPC                                                     D27 /135        rests for tobacco products shown in FIG . 1 and the reverse
 (58 ) Field of Classification Search                                           view of FIG . 2 ;
        USPC ..... ... D27/118 , 106 , 102, 104 , 105 ; D7/514 ,                FIG . 4 depicts a top plan view of the glass with integrated
                             D7/500 , 510 , 523 , 532 , 528 ; D9/774 ,          rests for tobacco products shown in FIG . 1 ;
                           D9/767 , 763 , 772 , 777 , 778 , 414 , 428 ,         FIG . 5 depicts a bottom plan view of the glass with inte
                           D9/ 429 ; 131 /231 , 240 , 240 .1 , 241, 242         grated rests for tobacco products shown in FIG . 1 and the
        CPC .... ... .... . ............. A24F 15 /08; A24F 15 /00              reverse view of FIG . 4 ;
        See application file for complete search history .                      FIG . 6 depicts a left plan view of the glass with integrated
 ( 56 )                     References Cited                                    rests for tobacco products shown in FIG . 1 ;
                                                                                FIG . 7 depicts a right plan view of the glass with integrated
                  U . S . PATENT DOCUMENTS                                      rests for tobacco products shown in FIG . 1 and the reverse
                                                                                view of FIG . 6 ; and ,
      1 , 106 ,204 A8 / 1914 Gross                                              FIG . 8 depicts a top perspective view of the glass with
      2 ,092,743 A  9 / 1937 Hirner                                             integrated rests for tobacco products shown in FIG . 1
      2 ,588, 208 A 3 / 1952 Connellan                                          showing a tobacco product in broken line that formsno part
      2 ,786 ,474 A 3/ 1957 Miller                                              of the claimed design .
      2 ,919 , 096 A
                   12 / 1959 Cohen
      D244,302 S * 5 / 1977 Bradley                             D27 / 104       The broken lines in FIG . 5 depicts a portion of the glass with
      4 , 142 ,537 A      3 / 1979 Fenelon                                      integrated rests for tobacco products that formsno part of the
      4 , 187, 864 A
      D395 ,097 S *
                          2 / 1980 Taddeo
                          6 / 1998 Barton                        D27/ 135
                                                                                claimed design .
                            (Continued )                                                        1 Claim , 4 Drawing Sheets

                                                                            .




                                                        -




                                                        .

                                                                                           -

                                                        -
                                                        .
                                                                                           -




                                                                                           -


                                                        -

                                                                                           -

                                                        -

                                                                                           -




                                                        -



                                                            -




                                                            -




                                                            -




                                                            -
Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 2 of 6 PageID 13


                                                           US D819 , 884 S
                                                               Page 2

 (56 )                    References Cited
                    U . S . PATENT DOCUMENTS
         D403 ,804 S        1/ 1999 Silkaitis
         6 ,032, 824 A      3 / 2000 Barrow
         D432 ,712 S * 10 /2000 Perrier ... ............   D27 / 102
         D468, 857 S *      1/ 2003 Foote ...              D27/ 104
         D493 ,011 S *      7 /2004 Foote                  D27 / 104
      D496 , 753 S * 9 /2004 Thornell                       D27 / 105
      7 ,096, 521 B2 . 8/ 2006 Rifkin
      7 ,661,431 B1    2 /2010 Barrios
      D655, 984 S * 3 / 2012 Andreesen ..................... 07/ 509
      D658 ,329 S * 4 /2012 Katz ....... ....              D27 / 125
      D780 ,992 S * 3 /2017 Lozier ...                      D27 / 103
      D785 , 860 S * 5 /2017 Fischer                        D27 / 102
  2003/ 0230244 Al 12/ 2003 Morrison
  2008/ 0022937 A11 / 2008 Shirley
  2009/0272390 A1 11/ 2009 Blondeel
 * cited by examiner
Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 3 of 6 PageID 14


 U . S . Patent      Jun . 5 , 2018       Sheet 1 of 4                    US D819 ,884 S




                                                              -
                                                              -




                                                              -


                                                              -




                                                               -




                                                               -




                                                               -
                                                               -




                                                               -




                                                                -


                                                                -




                                                                -




                                                                      -




                                                                      -




                                                                      -




                                     **




                    FIG . 1


                         -




                         -




                         -


                        *


                        -




                         +
                         -




                         -
                         -

                             -




                             -



                             -




                             -

                                 *
                         +
                         -
                                                         -
                                 *




                                                         -




                                                         -




                                                             ?
                                                             ??????
                                                               -*
                                                                .
                                                                  *
                                                                  *




                  FIG . 2
Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 4 of 6 PageID 15


 U . S . Patent      Jun . 5 , 2018         Sheet 2 of 4                    US D819 ,884 S

                                                           --



                         -




                         -




                         -




                         -




                                 -




                                 -




                                 -




                                 -




                                                                -
                                                                -

                                                                    -
                                                                    -




                    FIG . 3


                                      -   - - -




                                                                *
                                                                *




                                                                    *
                                                                    *




                                                                        -




                                                                        -



                                                                        -




                     -


                                                                        -

                     -




                         -

                             -
                             -




                     FIG . 4 .
Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 5 of 6 PageID 16


 U . S . Patent      Jun . 5 , 2018                                                                          Sheet 3 of 4                                                                                         US D819 ,884 S




                              *
                              *




                      *
                      *
                      .




                                                                                                                                                                                         -




                                                                                                                                                                                         -




                                                                                                                                                                                         -

                                                                                                                                                                                                          -


                          -


                          -

                          -
                          -




                                                                                                                                                                                                              -
                                                                                                                                                                                                              -



                                                                                                                                                                                       -                  -
                                                                                                                                                                                                          -

                                                                                                                                                                                     -
                                                                                                                                                                                     -
                                                                                                                                                                                             *
                                                                                                                                                                                             **
                                                                                                                                                                                              *




                                                                                                                                    --


                                                                                                                                         --
                                                                                                         -    -              - -




                    FIG . 5

                                                                - - - - -- - - - - - - - -- - - - - - - - -- - - - -               2 :22 . 2 . 222 . . . . . . . . . . . .




                                  -




                                  -




                                                                                                     - - - - - - - - -- - - -




                                           - - - - - -I- - - - - - - - - - - - -I- - - - - - - - - - - - - -I- - - - - - - - - - - - - - - - - - - - -I- - - - - - -I- - - - - -
                              . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                       - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - -
                                                   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                    FIG . 6
Case 8:23-cv-02396-KKM-AAS Document 1-1 Filed 10/23/23 Page 6 of 6 PageID 17


 U . S . Patent      Jun . 5 , 2018                                                                Sheet 4 of 4                                                                                 US D819 ,884 S

                         wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwvivivivivivivivi                                                       wwwwwwwwwwwwwwwwwwww

                                                                                                                                                                                    -




                                                                                                                                                                                    -




                                                                                                                                                                                    -




                                                                                                                                                                                    -
                                                                                                                                                                                    -
                                                                                                                                                                                    -




                                                                                                                                                                             .
                                                                                                                                                                             1
                                                                                                                                                                             .




                            -




                            -




                                                                                                                  -- - - - -
                                                                                                                                                                                    +
                                                                                                                      - - - - ?????????? . . .



                                            - - -- -- - - - - -- -- -- - - - - -- -- - - - - -- - - -- - - - - -- -- -- - - - - -- -- - - - - -- -- -- -
                                - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                     FIG . 7


                           -




                           -
                           -
                           .




                                                                                                                                                                                        -
                                                                                                                                                                                        -




                                                                                                                                                                                        -




                                                                                                                                                                                        -
                                                                                                                                                                                        .
                                                                                                                                                                                        -




                                                                                                                                                                                        -

                                                                                                                                                                                        -
                                                                                                                                                                                        .



                                                                                                                                                                                        .
                                                                                                                                                                                        -
                                                                                                                                                                                        .
                                                                                                                                                                                        .
                                                                                                                                                                                        -




                                                                                                                                                                                            -
                                                                                                                                                                                            -




                                                                                                                                                                                            -




                                                                                                                                                                                            -




                                                                                                                                                                                            -


                                                                                                                                                                                            -




                                                                                                                                                                                            -




                                                                                                                                                                                            -




                                                                                                                                                                                            -




        FIG . 8                                                                                                  - -- -
